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                  Exhibit C
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                                                                             1650 Arch Street, Suite 2210
                                                                                  Philadelphia, PA 19103
                                                                                www.angeiongroup.com
                                                                                        215.563.4116 (P)
                                                                                        215.525.0209 (F)

December 5, 2023


RE:     Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC
        U.S. District Court of Nevada, Case No. 2:15-cv-01045-RFB-BNW

Dear Gym Owner/Manager:

Enclosed is a legal Poster Notice regarding the above-referenced class action regarding UFC Fighters who
competed in one or more live professional UFC-promoted MMA bouts taking place or broadcast in the
United States from December 16, 2010 to June 30, 2017.

Angeion is the Court-appointed Notice Administrator in this matter and, pursuant to the Court’s
November 17, 2023 Order Granting Plaintiffs’ Unopposed Motion to Approve Class Notice Plan, we are
sending the enclosed Poster Notice and requesting that it be posted in a highly visible area where Bout
Class Members are most likely to view the notice. If you would like to review the Court’s Order, please
visit the Important Documents page of the notice website at www.UFCFighterClassAction.com.

For additional information, call toll-free 1-866-955-5564. You may also write to the Notice Administrator
by mail: UFC Fighter Class Action, c/o Notice Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA
19103, or email: info@UFCFighterClassAction.com.

Sincerely,

Angeion Group, LLC

UFC Fighter Class Action
c/o Notice Administrator
1650 Arch Street, Suite 2210
Philadelphia, PA 19103
1-866-955-5564
info@UFCFighterClassAction.com
www.UFCFighterClassAction.com
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                    Notice of Certification of Class of UFC Fighters
                             Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC
                                              Case No. 2:15-cv-01045-RFB-BNW (D. Nev.)

If you competed in one or more live professional UFC-promoted MMA bouts taking
  place or broadcast in the United States from December 16, 2010 to June 30, 2017
    (the “Class Period”), you could be affected by the Court’s Class Certification
                                Decision and Order.
                     A federal court directed this Notice. This is not junk mail, an advertisement, or a solicitation from a lawyer.

What is the purpose of this Notice?
This notice is authorized by the Court to inform all persons who competed in one or more live professional UFC-promoted MMA bouts taking place
or broadcast in the United States from December 16, 2010 to June 30, 2017 (the “Class Period”) that they could be affected by the Court’s class
certification decision and order in a class action lawsuit called Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC, Case
No. 2:15-cv-01045-RFB-BNW (the “Action”). The Court’s Order excludes all persons who are not residents or citizens of the United States unless the
UFC paid such persons for competing in a bout fought in the United States during the Class Period.
On August 9, 2023, the Honorable Richard F. Boulware, II of the United States District Court for the District of Nevada, entered an order certifying a
class of UFC Fighters (the “Bout Class”) in the Action. Bout Class members have the right to know about the Court’s certification of the Bout Class to
pursue claims against the Defendant. Bout Class members have the right to continue in the Action as a member of the Bout Class or to exclude
themselves from the Class (see below).


What is the Lawsuit About?
The lawsuit claims that Defendant used an anticompetitive scheme to establish and maintain its market dominance, allowing it to pay its fighters
substantially less than it would have paid in a more competitive market in violation of federal antitrust law. The Defendant denies these claims and any
allegation of wrongdoing, and asserts that there is ample competition in the market for MMA fighters, its conduct was procompetitive, and UFC
continually and substantially increased fighter pay over the Class Period. The Honorable Richard F. Boulware, II of the United States District Court
for the District of Nevada is overseeing the Action. Judge Boulware has not decided which side is correct.


Who is in the Class?
You are a member of the Bout Class certified by the Court if you competed in one or more live professional UFC-promoted MMA bouts taking place
or broadcast in the United States from December 16, 2010 to June 30, 2017. The Bout Class excludes all persons who are not residents or citizens of
the United States, unless the UFC paid such persons for competing in a bout fought in the United States during the Class Period.


Who represents the Bout Class?
The Court has appointed the following law firms as Co-Lead Counsel (“Class Counsel”) to represent the Class: Berger Montague PC, Cohen Milstein
Sellers & Toll, PLLC, and Joseph Saveri Law Firm, LLP. Class Counsel has been prosecuting this Action, i.e., overseeing and performing work to
advance the litigation on behalf of the Plaintiffs and the Bout Class since before it was filed in December 2014.
You do not need to hire your own lawyer because Class Counsel is working on your behalf. If you want your own lawyer, you may hire one, but you
will be responsible for any payment for that lawyer’s services.


What are the rights of Bout Class members?
You have the right to continue participating in the Action as a Bout Class member. You do not need to do anything at this time to remain in the Bout
Class or to be a part of the Action against the Defendant. If you do not exclude yourself from the Bout Class and thus remain a Bout Class member in
the Action against the Defendant, you will retain the possibility of receiving money or other benefits from the Defendant that may come from trial or
settlement. By remaining in the Bout Class, you will be bound by the outcome of the Action, whether it is favorable or unfavorable, and you will give
up your right to file your own separate lawsuit with regard to any of the claims asserted or issues decided in the Action.
There is no money available now from the Defendant, and there is no guarantee that there will be any in the future. The outcome of the Action against
the Defendant is not yet known.
You also have the right to exclude yourself from the Bout Class, in which case you would preserve any right you may have to bring or continue a
lawsuit of your own against the Defendant for the same or similar claims against the UFC, but you would give up the right to receive any payment that
could result from trial or future settlements in the Action with the Defendant.
If you wish to exclude yourself from the Bout Class, you must send a written letter or request for exclusion by January 22, 2024, in the manner
described in Question 12 of the Court’s Notice of Certification of Class of UFC Fighters (available on the Settlement Website at
www.UFCFighterClassAction.com). The Court will exclude you from the Bout Class if you submit a timely written request. If you do not exclude
yourself from the Bout Class, you will not be able to sue on your own, or continue to sue on your own, the Defendant with respect to any of the claims
asserted or issues decided in this Action.


What’s next?
Trial has been set to begin on April 8, 2024.


This Notice is only a Summary.
For additional information, visit www.UFCFighterClassAction.com or call toll-free 1-866-955-5564. You may also write to the Class Action
Administrator by mail: UFC Fighter Class Action, c/o Class Action Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103, or email:
info@UFCFighterClassAction.com.
